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                        UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA
                                                                               J S -6
                             CIVIL MINUTES—GENERAL

Case No. CV 20-8802 MWF (Ex)                                   Date: February 10, 2021
Title:   Joseph R. Meehan v. Natasha Loxton, et al.
Present: The Honorable MICHAEL W. FITZGERALD, U.S. District Judge

           Deputy Clerk:                              Court Reporter:
           Rita Sanchez                               Not Reported

           Attorneys Present for Plaintiff:           Attorneys Present for Defendant:
           None Present                               None Present

Proceedings (In Chambers): ORDER DISMISSING ACTION WITHOUT
                           PREJUDICE

      On September 24, 2020, Plaintiff Joseph R. Meehan commenced this action
against Defendants Natasha Loxton, Olivia Hasler and Priscilla Kelly. (Complaint
(Docket No. 1)). Pursuant to Federal Rule of Civil Procedure 4(m), Plaintiff must have
served the Complaint by December 23, 2020.

       On December 7, 2020, the Court issued an Order directing Plaintiff to show
cause (“OSC”), by no later than December 23, 2020, why the action should not be
dismissed for lack of prosecution. (Docket No. 12). On December 8, 2020, Plaintiff
filed an Application for an Extension of Time to Serve Defendants; on December 9,
2020, the Court granted Plaintiff’s request and extended the deadline to respond to
February 5, 2021. (Docket Nos. 13 and 14).

      On January 5, 2021, Plaintiff filed a Proof of Service (“POS”) of the Summons
and Complaint on Defendant Olivia Hasler. (Docket No. 15). The POS notes that
Defendant Hasler was served by substituted service and mail on October 16, 2020.
Defendant Hasler’s response to the Complaint was therefore due no later than
November 16, 2020. The OSC required not only the POS, but also either Defendant’s
response to the Complaint or Plaintiff’s Application for the Clerk to Enter Default.

       Plaintiff has not adequately responded to the OSC. It is well-established that a
district court has authority to dismiss a plaintiff’s action due to her failure to prosecute
and/or to comply with court orders. See Fed. R. Civ. P. 41(b); Link v. Wabash

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                            CIVIL MINUTES—GENERAL

Case No. CV 20-8802 MWF (Ex)                                 Date: February 10, 2021
Title:   Joseph R. Meehan v. Natasha Loxton, et al.
Railroad Co., 370 U.S. 626, 629–30 (1962) (noting that district court’s authority to
dismiss for lack of prosecution is necessary to prevent undue delays in the disposition
of pending cases and avoid congestion in district court calendars); Ferdik v. Bonzelet,
963 F.2d 1258, 1260 (9th Cir. 1992) (stating that district court may dismiss action for
failure to comply with any order of the court).

       Before ordering dismissal, the Court must consider five factors: (1) the public’s
interest in expeditious resolution of litigation; (2) the Court’s need to manage its
docket; (3) the risk of prejudice to Defendant; (4) the public policy favoring the
disposition of cases on their merits; and (5) the availability of less drastic sanctions.
See In re Eisen, 31 F.3d 1447, 1451 (9th Cir. 1994) (failure to prosecute); Ferdik, 963
F.2d at 1260–61 (failure to comply with court orders).

      Taking all of these factors into account, dismissal for lack of prosecution is
warranted. Accordingly, the action is DISMISSED without prejudice.

        This Order shall constitute notice of entry of judgment pursuant to Federal Rule
of Civil Procedure 58. Pursuant to Local Rule 58-6, the Court ORDERS the Clerk to
treat this Order, and its entry on the docket, as an entry of judgment.

      IT IS SO ORDERED.




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